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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS

 LABORATORIOS PISA S.A. de C.V; AND
 CAB ENTERPRISES, INC.,
                                                      Civ. Action No.:
                        Plaintiffs,

         vs.
                                                      (JURY DEMAND)
 PEPSICO, Inc.; AND
 STOKELY-VAN CAMP, INC.,

                        Defendants.


                           DECLARATION OF CARIDAD OCHOA

I, Caridad Ochoa, hereby declare under penalty of perjury that:

       1.      My name is CARIDAD OCHOA. I am over the age of twenty-one (21) years, am

competent to testify to the matters stated herein, have personal knowledge of the facts and

statements in this declaration, and each of the facts and statement is true and correct.

       2.      I am the Commercial Director at CAB Enterprises, Inc. (“CAB”), which is one of

the Plaintiffs in the above-captioned case.

                  Electrolit and its Trademarks and Distinctive Trade Dress

       3.      Laboratorios Pisa S.A. de C.V.’s (“Pisa”) and CAB’s (collectively, the “Plaintiffs”)

Electrolit® product was originally developed in Mexico in 1950 as a solution for dehydration in

children, a crucial need during a wave of cholera striking Mexico at the time.

       4.      Over the years, Electrolit® beverages have emerged as Pisa’s leading product

selling over 200 million bottles in 2016 alone – 2 for every person in Mexico.

       5.      In 2014, CAB was formed in the United States and was appointed the exclusive

authorized distributor in the United States for Electrolit® product.



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          6.    In connection therewith, CAB was granted an exclusive license to the trademarks

and trade dress associated with genuine U.S. Electrolit® and was tasked with translating the

overwhelming success of Electrolit® in Mexico into a similar dominance in the U.S. market.

          7.    Pisa and CAB are leveraging the success of the Electrolit® Laboratorios Pisa®

brands to vigorously expand their sales of Electrolit® in the U.S.

          8.    Pisa and CAB’s investment in the Electrolit brand, and the public’s appreciation

for and recognition of the Electrolit trade dress, has only increased since its initial launch in the

U.S. market 7 years ago. For example, in 2015, CAB invested approximately $1million in

advertising and marketing the Electrolit brand and product; by comparison, in 2020, CAB

invested more than $19.5 million in advertising and marketing the Electrolit brand and product,

and has heightened the profile of the brand through savvy placement on social media, resulting

in over 2.2 billion advertisement impressions (with a 70% reach in thirteen markets) and over 4.5

million social media engagements. Thanks to these efforts, sales of Electrolit in the U.S. market

have doubled every year since the brand was launched in 2014.

          9.    Today, CAB distributes U.S. Electrolit® to over 30,000 accounts in the United

States.

          10.   U.S. Electrolit® is sold to consumers through several channels, including online

through retailers such as Amazon as well as through supermarkets, convenience stores and all

grocery store formats.

          11.   All bottles of genuine Electrolit® beverages display one or more of the following

valid and subsisting Electrolit® and Pisa® trademarks, which are owned by Pisa: (collectively, the

“Electrolit Marks”):




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   Mark        U.S. Reg. No.    Reg. Date                  Relevant Goods

                 4222726       Oct. 9, 2012    Class 5: Electrolyte replacement solution
                                               for oral rehydration.
                                               Class 32: Oral rehydration beverages,
                                               namely, sports drinks.
“ELECTROLIT”     4833885       Oct. 13, 2015   Class 5: Pharmaceutical products,
                                               namely,       electrolyte     replacement
                                               solutions; veterinary products, namely,
                                               dog, horse, pig, cat, bird, and ruminant
                                               food, bacterial and bacteriological
                                               preparations for veterinary use, chemical
                                               reagents for veterinary purposes, enzymes
                                               for veterinary purposes, diagnostic
                                               preparations for veterinary purposes,
                                               veterinary vaccines; hygienic products,
                                               namely, skin cleansing solutions for
                                               medical use; dietetic substances for
                                               medical use, namely, diet pills, diet
                                               capsules, and diet drinks; baby food;
                                               poultices; wound dressings; dental
                                               poultices; dental mold poultices;
                                               disinfectants for home use; products for
                                               the destruction of harmful animals,
                                               namely, insecticides and pesticides;
                                               fungicides; herbicides.
                                               Class 32: Beers; mineral waters;
                                               carbonated beverages; non-alcoholic
                                               beverages, namely, water, flavored water;
                                               fruit beverages and juices; syrups for
                                               making beverages.
                 4717350       Apr. 7, 2015    Class 5: Electrolyte replacement solutions
                                               for oral rehydration.
                                               Class 32: Oral rehydration beverages,
                                               namely, sports drinks containing
                                               electrolytes.




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       Mark          U.S. Reg. No.       Reg. Date                   Relevant Goods

                        4717232         Apr. 7, 2015    Class 5: Electrolyte replacement solutions
                                                        for oral rehydration.
                                                        Class 32: Oral rehydration beverages,
                                                        namely, sports drinks containing
                                                        electrolytes.

       12.     Plaintiffs use distinctive packaging (the “Electrolit Trade Dress”) to distinguish its

genuine U.S. Electrolit® products in the marketplace. Pisa owns, and CAB is the U.S. sole licensee

with respect to, the Electrolit Trade Dress, which consists of, but is not limited to the packaging

illustrated below:




       13.     The Electrolit Trade Dress has also been extensively and continuously used

throughout the U.S. by Plaintiffs and is inherently distinctive

       14.     CAB has the exclusive right to use the Electrolit Marks for beverages in the U.S.

as a result of exclusive license and distribution agreements with the registrant, Pisa.

       15.     The Electrolit Marks have been extensively and continuously used by Plaintiffs, are

inherently distinctive and have become famous throughout the U.S. and in Texas.

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        16.     Plaintiffs have attained substantial goodwill and a strong, positive reputation as the

exclusive and only source of authentic, high-quality Electrolit® beverages in the U.S.

        17.     Plaintiffs have invested millions of dollars developing and growing the Electrolit®

brand in the U.S., with the result that the public naturally and exclusively associates the Electrolit

Marks and other source identifiers with Plaintiffs.

                            Defendants’ Infringing Gatorlyte Product

        18.     Within the next several days, it is my understanding that defendants PepsiCo, Inc.

and Stokely-Van Camp, Inc. (collectively “Defendants” or “PepsiCo”) plan to launch a new a

ready to drink beverage with the name “Gatorlyte”. This product is a slavish knock-off of

Electrolit. It is a colored, nutrient-enhanced bottled water being offered in an array of colors (pink,

orange, and white) that correspond exactly to top-selling varieties of Electrolit products. Plaintiffs

also expect the evidence to show that Gatorlyte uses many of the same ingredients as Electrolit,

including a near-identical electrolyte combination.

        19.     More important to me than Defendants’ lack of innovation in developing their

product, however, is the fact that the trade dress they designed for Gatorlyte mimics the key

elements of the unique and distinctive trade dress set the Electrolit brand apart in the marketplace,

that has been so critical to its success, and that is so inextricably linked to the brand itself.

        20.     As shown in the accompanying photographs, the similarities between the respective

trade dress for the two products is simply too pronounced to have occurred by sheer coincidence.

The similarities between the respective trade dress for the two products include, at least: (i) a

virtually identical square-shaped bottle; (ii) the same diagonal lower left to upper right white

banner label; (iii) a circular insignia; (iv) solid background subtitles; (v) predominantly two-toned

labels that alternate between the white banner and another color; (vi) and bright-colored, circular

caps, which are the same color no matter which flavor of beverage is contained therein. Any


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superficial differences in the details of the products’ trade dress are immaterial in the face of these

overwhelming similarities.




             Gatorade                         Electrolit                        Gatorlyte

       21.      Defendants’ marketing materials for the Gatorlyte brand also mimic the style and

overall impression of Electrolit materials.

                                      Defendant’s Bad Faith

       22.      Defendants’ bad faith in developing the Gatorlyte trade dress is evident to me both

from the history of dealings between the parties and an examination of the trade dress used on

Defendant’s other beverage products.

       23.      Defendants’ past products have all used an entirely different trade dress and, to my

knowledge, have never used square-shaped bottle, diagonal lower left to upper right white banner

label, a circular insignia, and predominantly two-toned labels that alternate between the white



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banner and another color. As shown in the photo above, PepsiCo’s Gatorade line of products does

not share any of these design elements. Moreover, the Gatorade brand has for years had a

distinctive, unique look distinguished by highly prominent use of Gatorade’s G lightning bolt logo

in the center of a circular-shaped bottle.

       24.     The distinctive, non-infringing package designs that PepsiCo created for Gatorade

demonstrates to me that PepsiCo knows how to design products and trade dress in this category

that can create a unique impression. There is simply no legitimate reason that they had to

appropriate the distinctive look created for Electrolit.

       25.     It is also telling, in my view, that Defendants’ decision to launch a knock-off

product in so confusingly similar a trade dress came only after they first attempted to intimidate

Plaintiffs out of the market. In November, 2020, Pepsico had their lawyers send plaintiff CAB a

threatening letter complaining about Electrolit advertising, alleging that some of the claims CAB

makes about the product were untrue. At the same time, however, on information and belief,

Pepsico was hatching its plot to copy Electrolit’s advertising and trade dress for its Gatorlyte

products.

       26.     For example, Pepsico complained about Electrolit’s use of the term “instant

hydration” and the claims that it is “perfectly formulated to work faster” and contains an “optimal

formula to hydrate faster than any sports drink” and demanded that Electrolit cease using those

terms. Meanwhile, on information and belief, Pepsico itself was finalizing its plans to advertise

Gatorlyte the same way - with the claim that it offers “rapid rehydration” and has an “optimized

formula for faster absorption.”

       27.     As another example, Pepsico complained about Electrolit’s use of the term

“scientifically superior” while at the same time, on information and belief, it was finalizing its

plans to advertise Gatorlyte with the claim that it is “scientifically formulated.”


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        28.    In another example, Pepsico complained about Electrolit’s claim that it “prevents

cramps,” yet made the claim that its Gatorlytes powder was “designed for … cramp-prone

athletes.”

        29.    When these efforts to directly intimidate Plaintiffs into opening a marketing

vacuum for Pepsico’s Gatorlyte product to fill failed, Pepsico fell back on its undeniable

advantage: size. Pepsico sent out its sales force to countless retailers that sold its wide range of

other beverages to demand that they make room for Gatorlyte, and not just anywhere. Drawing

on its existing share of cooler space at retail outlets, Pepsico demanded that Gatorlyte be positioned

in “incremental” space relative to other Pespico beverages that is “next to or in place of Electrolit.”

        30.    Pepsico did not rely on intimidation of plaintiffs or retailers alone to set the stage

for Gatorlyte’s launch. Pepsico copied Electrolit trademarks and trade dress too. Having failed to

intimidate Plaintiffs to creating a marketing vacuum for Pepsico’s Gatorlyte product to fill, it

seems that Defendants instead set out to copy every aspect of the Electrolit brand.

                             Confusion and Likelihood of Confusion

        31.    Given the striking similarity between the products’ respective trade dress, I believe

there is a high likelihood that consumers and retailers will confuse the products, mistakenly buying

Gatorlyte products when they mean to buy Electrolit products.

        32.    The likelihood of confusion is further exacerbated by the fact that nutrient-enhanced

water is a relatively low-cost item (around $3/bottle), and consumers are unlikely to exercise a great

deal of care before making a purchase. In fact, it is often an impulse purchase and is placed in

coolers near a store’s checkout counter or at the end of aisles in grocery stores.

        33.    The likelihood of confusion is further exacerbated by the fact that Plaintiffs appear

to be marketing the Gatorlyte products and Electrolit products to the same customers and intend

to sell them through the same sales channels.


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       34.     Attached as Exhibit 1 is a true and correct copy of Gatorlyte marketing materials

that was presented at one of CAB’s customers.

       35.     The material was provided to me by one of CAB’s representatives, who informed

me that he received it from a sales representative of Classic Distributing and Beverage (one of

CAB’s distributors) after the sales representative saw it at AMPM Convenience Store (a CAB

customer), in Bakersfield, CA on February 11, 2021 and took a picture of it with his cellphone.

       36.     Attached as Exhibit 2 is a true and correct copy of a marketing document which I

obtained from the following URL:

               https://static1.squarespace.com/static/54e22d6be4b00617871820ca/t/60144b82d0
               a34b3eb48a192c/1611942789240/SalesSheets.pdf.

       37.     Upon information and belief, Gatorlyte products also are and will be available for

sale in almost all of the same stores that currently carry Electrolit products – typically in the same

area of the store and sometimes in the very same display, including because Defendants have

requested that Gatorlyte be placed “next to or in place of Electrolit where sold.” As shown below

and in Exhibit 1, when Gatorlyte products are stocked next to Electrolit, it is difficult to tell them

apart – to the contrary, I believe many consumers will think that Gatorlyte is Electrolit or is from

the same company that makes Electrolit.




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        38.     I have asked our sales force to alert me to reports of confusion in the marketplace.

I expect that we will receive reports of confusion in the market, including from hurried shoppers

grabbing Gatorlyte when they meant to buy Electrolit to more sophisticated industry players (like

retailers, distributors, bottlers and merchandisers) being confused by the similar trade dress.

Nonetheless, the true amount of confusion in the marketplace will be difficult to document. Most

consumers will not bother to contact us if they have been confused (or, indeed, may not even know

it) and many retailers may be reluctant to come forward and risk offending PepsiCo, which has

unprecedented clout in the food and beverage businesses because of its portfolio of major brands,

including Pepsi, Diet Pepsi, Gatorade, Quaker, Frito-Lay, Tropicana and ready to drink Lipton

iced teas and Starbucks coffees.

        39.     I also expect to receive reports that bottles of Gatorlyte will be back filled behind

Electrolit on retail shelves in order to make the Electrolit shelves appear full and prevent the retailer

from reordering.

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       40.     I also expect to see evidence that Defendants are engaged in a campaign to have

their products shelved together with Electrolit– surrounded above and/or to the side by our

Plaintiffs’ products, further increasing the likelihood of confusion.

       41.     In my experience in this industry, this encroachment into another manufacturer’s

set is unprecedented. For example, one would never see a display of Pepsi products integrated into

a display of Coca-Cola products, nor would one see a display of Lipton iced tea integrated into a

display of Snapple, or a display of Gatorade integrated into a display of Powerade. Similar brands

are separated for a reason: to protect consumers and to make it clear to consumers which products

all come from a common source. By integrating the two product lines on shelves, Defendants are

increasing the likelihood that consumers will inadvertently grab the wrong product.

       42.     Defendants’ apparent determination to integrate their product with ours in the

marketplace further illustrates their intent to associate their product with the Electrolit brand and

will only heighten the likelihood that consumers will be confused.

                                         Irreparable Harm

       43.     In developing and marketing Gatorlyte products, Defendants have gone beyond fair

competition and have adopted a trade dress that has and will confuse consumers into thinking they

are buying Electrolit products.

       44.     If Defendants are permitted to proceed, Plaintiffs will suffer irreparable harm. Most

obviously, we will lose sales and revenues, as customers are confused into buying Gatorlyte

products when they mean to buy Electrolit products.

       45.     Plaintiffs have spent considerable time and resources in gaining valuable shelf

space for its products in retail outlets. The loyalty of these retailers and the continued availability

of this shelf space is seriously threatened by Defendants’ conduct and the resulting confusion

among retailers. Once shelf space is lost, it is essentially impossible to regain. Defendants’ use of


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their confusingly designed products to capture Plaintiffs' shelf space will cause irreparable injury

to Plaintiffs.

        46.      More importantly, Defendants’ conduct will damage Plaintiffs’ ability to

maintain its hard-won brand recognition in the nutrient-enhanced water category, which

only emerged on a national scale in recent years. Defendants will be able to flood the market

through PepsiCo's mammoth distribution network. In a matter of weeks, Gatorlyte will be

able to achieve broader distribution than the Electrolit brand has been able to build in seven

years. Not only will retailers and consumers be confused into purchasing Gatorlyte when

they want Electrolit, but additionally Defendants — with their immense marketing might

and its nationwide distribution network — will be able to swamp the market with its

confusingly packaged products just on the eve of Plaintiffs's most important selling season

in the hot summer months. We are currently selling into retail channels to secure precious

shelf space for the key selling months of June, July, and August. If not enjoined, Defendants’

conduct will eviscerate the good will we have spent seven years carefully cultivating for the

Electrolit brand.

        47.      To prevent this irreparable harm, Plaintiffs request a temporary restraining order

and is proceeding by order to show cause because it cannot countenance the harm that would result

if we proceeded under the slower procedures for notice of motion.


        Executed on February 18, 2021 in Los Angeles, California




                                              Caridad Ochoa
                                              Commercial Director, CAB Enterprises, Inc.




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